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                  EXHIBIT I
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                                                                                      March 19, 2025


 Honorable Michael E. Farbiarz
 United States District Judge
 District of New Jersey
 Martin Luther King Courthouse
 50 Walnut Street
 Newark, NJ 07101


 PURSUANT TO 28 USC 1746, I HEREBY DECLARE THE FOLLOWING:

 Dear Judge Farbiarz,

 I am writing this letter to you in support of Mahmoud Khalil. My name is                and I
 am a U.S. citizen and identify as Jewish. I graduated from Columbia University’s School of
 International and Public Affairs (SIPA) in May 2024 and have known Mahmoud Khalil for about
 two years since he started his studies at SIPA in January 2023.

 I consider Mahmoud a colleague, fellow advocate and profound human being. I regard
 Mahmoud as a thoughtful, committed, highly intelligent, curious and pacifistic person. I
 developed this understanding of his character through my many interactions with him at
 Columbia in classrooms, social outings, and advocacy circles. I have had countless discussions
 with him about international affairs, politics and the Israeli-Palestinian conflict. I can point to
 several specific examples that highlight Mahmoud commitment to non-violent, respectful
 language and building an inclusive pro-Palestinian movement on campus.

 My first interaction with Mahmoud was in March 2023. Over the prior winter break, I
 participated in a trip to the Occupied Palestinian Territories organized by PalTrek National. As a
 follow-up to the trip, a discussion was convened with participants of the trip to highlight our
 experience. I offered to speak about my experience as a Jewish person who has traveled to Israel
 on multiple occasions before this trip. I was honest about my participation in Birthright
 International, a fully-funded trip for American Jewish youth to experience Israel. Birthright has
 received criticism from anti-Israel groups for its support of resettling American Jews to Israel,
 often at the expense of Palestinian families. While some students at SIPA expressed valid
 concerns about including my experience over others from the trip, Mahmoud personally
 welcomed my inclusion in the panel. Mahmoud saw the importance of including my voice in this
 discussion and highlighting the complicated pressures on American Jews. Mahmoud, starting at
 SIPA in January, did not participate in the trip and did not know me beyond my identity as
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 Jewish and previous participant in Birthright. Instead of leaning into stereotypes or succumbing
 to the pressures of others, Mahmoud saw me as a human being with a long and complicated
 relationship to my religious identity and its connection to the state of Israel.

 The next incident I’d like to highlight occurred in October 2023. Following the Hamas-led
 terrorist attacks on October 7th and subsequent military response by Israel, the Dean of SIPA,
 Keren Yarhi-Milo, asked to meet with some SIPA students to understand the impact of the war
 on Palestinian students. Mahmoud was in attendance. Mahmoud began the meeting by asking
 Dean Yarhi-Milo, an Israeli citizen, how she, her family and community were doing in light of
 the terrorist attack. In asking the question, Mahmoud condemned the violent, hateful act by
 Hamas terrorists and expressed grief for the immediate loss of life and continued impact on the
 communities. Even Dean Yarhi-Milo appeared touched by the question and expressed gratitude
 for his consideration of her experience of this violence as an Israeli woman.

 From October 2023, tensions on campus elevated. I’ve watched Mahmoud on several occasions
 de-escalate tense situations on campus, leading with peace to usher a constructive dialogue rather
 than inciting aggression that leads to hate speech. I saw Mahmoud, as well as other Arab
 classmates, confronted and, at times, harassed by other students, asking him if he supported
 Hamas. Mahmoud would not raise his voice or respond with aggression, but instead simply
 answer the question by condemning Hamas and all forms of violent extremism. Mahmoud
 recognized this was a tactic to coerce him to promote hateful or extremist language, but he never
 wavered in his denouncement of all forms of violent extremism, including the actions of Hamas
 on October 7th.

 On October 25th 2023, over 20 students, including myself, were targeted in a doxing campaign
 by the right-wing media organization, Accuracy in Media. The organization launched an online
 petition, personal website for each student, and paraded a billboard truck around campus
 displaying my name and photo under the banner, “Columbia’s Leading Antisemite.” The false
 statement was attributed to my position as the President of SIPA’s Human Rights Working
 Group. Mahmoud, not targeted at that time by this doxing campaign, reached out to me
 personally to check in on my well-being. He recognized that my identity and work experience
 with Jewish organizations contradicted the claim of antisemitism, and offered his support. He
 expressed his support not in justification of antisemitism, but as defamatory action to distract
 from legitimate antisemitism happening on campus, saying to me, “by targeting the Jewish
 student and ignoring the very real antisemitism happening on campus, [Accuracy in Media] has
 made it clear their motives are not to protect Jewish people.”

 I can point to additional incidents that occurred in April 2024 during the Solidarity Encampment
 at Columbia University. During the Encampment, Mahmoud led community-wide discussions on
 how to ensure the space was free from hate and discrimination. Through this, he helped develop
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 community guidelines for the encampment that indicated any expression of hate speech will not
 be tolerated. On one occasion, some individuals made remarks that I personally found offensive
 as a Jewish person. I saw Mahmoud visibly uncomfortable, and instead of berating or verbally
 attacking the individuals, he approached them calmly to deescalate the situation by saying,
 “that’s not a productive approach. We need to focus on law, not emotion.” His priority has
 always been advocacy through nonviolent means, centering facts, legal arguments, and mutual
 respect.

 ICE may attempt to use his participation in the Encampment protest against him, but that would
 be a complete distortion of reality. Mahmoud has actively included Jewish voices in
 conversations about Israel-Palestine. In fact, during the first day of Jewish Holy Days of
 Passover, I asked Mahmoud for his help in hosting a Passover Seder at the Encampment
 specifically for a non-Jewish audience. Mahmoud was very helpful in connecting me with the
 leadership of the Encampment and ensuring I had a large, safe space to host the Seder. Not only
 did he attend the Seder, Mahmoud invited his non-Jewish friends, understanding the importance
 of including non-Jews in the celebration of this Holy Day. Following the Seder, he commented
 to me directly, “thank you for hosting and inviting me to this Seder. It was my first time being
 invited to a Passover Seder and I am very thankful to have learned more about Judaism.” His
 gratitude and support of this initiative further highlights his understanding of the value of
 including Jewish voices in typically non-Jewish spaces. In that moment, Mahmoud saw me, not
 just as a Jew but as a fellow human being equally committed to his message of nonviolence and
 peace.

 Additionally, ICE and Federal officials may penalize Mahmoud for his visibility during
 Columbia’s protests because he was selected as a press representative from the student
 negotiating team. Only specific students were selected for these roles to ensure the peaceful
 purpose of the protests were expressed calmly and without hatred. I watched him on several
 occasions be tested by the press with leading questions that sought to charge the conversation
 with antisemitic or extremist messaging, and Mahmoud maintained his calmness, commitment to
 promoting peace on campus and sensitivity to hateful or extremist rhetoric. His role as a student
 negotiator underscores his commitment to finding a peaceful end to the Encampment through
 dialogue with Columbia’s administration.

 I trust these examples provide insight into Mahmoud’s character and context to his participation
 in nonviolent protests that may be weaponized against him. His commitment to peaceful
 dialogue, particularly the creation of interfaith spaces, exemplifies what I have personally
 witnessed: Mahmoud has never engaged in or expressed support for antisemitic nor extremist
 ideology. He is an incredible advocate, good-faith member of the Columbia Alumni community,
 and a kind human being. I urge you to support his immediate release.
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  Honorable Jesse M. Furman,
  United States District Judge, Southern District of New York,
  Thurgood Marshall Courthouse, 40 Centre Street, New York, NY

                                                                                              18 March 2025

  Statement in support of Mahmoud Khalil

  Dear Judge Furman,

  My name is                        , I am a friend and former colleague of Mahmoud Khalil. I write to
  express my support for him, and to vouch for his conduct and character.

  I know Mahmoud in both a professional and personal capacity. Professionally, we spent two years
  working for the same team in the                                                    . Mahmoud
  worked for the                                                                               .I
  joined                                   .

  At work, Mahmoud was thoughtful and hard-working, consistently receiving the highest grade in his
  yearly appraisal. It is notable that Mahmoud was security cleared to work at the British Embassy in
  Beirut, one of the most politically sensitive posts in the diplomatic network. He was a trusted member
  of the team, showing discretion and personal integrity in all that he did. This is abundantly clear when
  examining the nature of Mahmoud’s day-to-day work. Mahmoud was responsible for overseeing the
  Chevening Scholarship fund that brings some of the brightest students from Syria to study at British
  universities. In this role, he was privy to the sensitive personal information of hundreds of young
  Syrians who had grown up in Bashar al-Assad’s brutal dictatorship - information which he handled
  with total discretion.

  After I left the                                            , I moved to Beirut to study Arabic and start a
  new career in journalism. It is at this time that I really became friends with Mahmoud. Outside of work
  he is tremendously fun to be with, especially when there is music involved. He is a loyal friend and is
  always generous with his time. He has spent hours answering my questions about the vagaries of
  regional politics, and would always insist on giving me a lift home across town after a disappointing
  evening of watching England play football (soccer).

  President Trump’s characterization of Mahmoud could not be further from the truth. His activism is a
  reflection of the very best of his character, not some radical impulse or subversive agenda. Mahmoud
  is motivated by the desire to see justice for Palestinians, but one does not need to agree with his
  politics to admire his courage in pursuing that aim. As an immigrant of Palestinian-Syrian heritage,
  Mahmoud has been dealt one of the weakest geo-political hands imaginable, and yet he stood up to
  one of the most powerful educational institutions in the world, despite the personal risk that this
  involved. His integrity and moral conviction is an example to all of us.

  I hope you will take this testimony into consideration, and I would be happy to provide any further
  information that might help with your judgement.

  Yours sincerely,


  Contact:
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 Honorable Jesse M. Furman
 United States District Judge
 Southern District of New York
 Thurgood Marshall Courthouse
 40 Centre Street, New York, NY

 Dear Judge Furman,
 I am writing in support of my friend and neighbor Mahmoud Khalil. My name is                        and I am
 an Associate Professor at Columbia University. Over the past year, I have joined with a
 diverse group of other Jewish colleagues to speak out in defense of our students’ right to protest the
 ongoing violence in Gaza. Through this advocacy, I have had the good fortune to get to know Mahmoud
 well. He is an upstanding, principled, and well-respected member of our community.

 I wish to convey to you in the strongest possible terms that the slander, insinuations, and guilt-by-
 association leveled against Mahmoud by everyone from anonymous trolls on social media to the White
 House could not be further from the truth known by those of us who know Mahmoud firsthand. I first got
 to know Mahmoud when he invited me to a film screening and panel discussion organized by himself and
 other Palestinian students in an interest of dialogue and understanding about the roots of disagreement on
 our campus. After the Gaza Solidarity Encampment arose on our campus and he stepped in as a mediator
 and spokesman, I only grew more impressed by his character, his kindness, and his commitment to a
 vision of liberation and justice both here and in Israel-Palestine that includes everyone, of all creeds and
 backgrounds.

 Mahmoud’s commitments to peace and collective liberation are a matter of public record. I myself have
 heard him openly express his opposition to antisemitism and all other forms of prejudice. I have given
 him my personal phone number and we have spoken often, whether just to catch up or whenever either
 one of us had a concern or question about something happening on campus. I have given him my trust on
 sensitive subjects and he has extended his in return. I have heard personally from Jewish students and
 others about how welcome and safe they feel around Mahmoud. I have heard firsthand how he has
 rebuked people who have said hurtful or prejudicial things in the context of the protest movement. I have
 stood beside him on live television to defend our students’ right to protest and I would not have done this
 if I believed any of the things being said about him by the government or by his doxers and harassers on
 social media were true.

 My understanding is that even unkind people have rights. However, since Mahmoud’s character and
 beliefs are, I understand, at issue in this case, let it be said Mahmoud is among the kindest, gentlest, and
 most principled people I have had the chance to meet over the last year and a half of turmoil on our
 campus. There are not many people whose phone calls I will take at any hour without hesitation.
 Mahmoud has always listened to my concerns in private and always spoken for inclusive visions of peace
 and collective liberation in public. His role in the campus protests has always been that of mediator,
 spokesman, of peacemaker, as one who seeks resolution, not inflammation, to conflict. He represents the
 best of what this student body has to offer.

 I am happy to provide more information if it can be helpful to the court. I can be reached by phone at
                or by mail at                                                  . Thank you for your
 consideration of my experience and perspective.

 Sincerely,
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 Honorable Jesse M. Furman
 United States District Judge
 District of New Jersey
 50 Walnut St., #4015
 Newark, New Jersey 07102

 Dear Judge Farbiarz,

 I am writing this letter in support of Mahmoud Khalil.

 My name is                , and I bring more than decade of award-winning journalism and
 entrepreneurism to my role as
                —a research action center at Temple University in Philadelphia, dedicated to
 education equity. Based in the Middle East for almost a decade, I was one of the ﬁrst
 women columnists at                               and co-founded                              ,
 an initiative dedicated to amplifying female voices in international aXairs. I’m the co-
 founder of               ,a                              campaign in Malawi and Guatemala
 that provides bicycles for adolescent girls to get to school. I am also the founding deputy
 editor of the                                 in Egypt, where I was a U.S. Fulbright fellow and
 Pulitzer Center grantee.

 I met Mahmoud almost 12 years ago, when I spent a summer in Beirut reporting on the
 Syrian refugee crisis. Mahmoud was 18 and had just recently ﬂed Syria by himself. He was
 painstakingly teaching himself English and volunteering his time to help fellow Syrians
 build new lives from the rubble of a brutal dictatorship and civil war. He often referred to
 himself as a “double refugee”—a Palestinian in Syria, who grew up in a refugee camp in
 Damascus, and a Syrian refugee in Lebanon. He was one of the most courageous, gentle,
 and kind souls I ever met. And he remains one of the most courageous, gentle, and kind
 humans I know. Mahmoud shouldn’t have to be extraordinary to deserve our empathy—or
 to ignite our rage over the injustice of it all. But he is.

 When we crossed paths in Istanbul a few years ago during Ramadan, we celebrated over a
 huge iftar—the breaking of the fast. Mahmoud was admitted to Columbia SIPA as a
 graduate student. He was deeply humbled and full of hope. Against all odds, he not only
 built a new life for himself, but was now going to further his development studies so to
 better serve marginalized communities around this world. “This will help me serve all the
 others—so many others—who didn’t and won’t get a chance,” he told me. That’s the thing
 about Mahmoud: his north star is creating opportunities for others, even when he barely
 had any himself as an 18-year-old refugee ﬂeeing Bashar Al-Assad’s murderous
 dictatorship.

 Columbia should be honored to call Mahmoud, a humanitarian in the truest sense of the
 word, an alumnus.
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 Mahmoud has dedicated his life to protecting the dignity of others. And we now must
 protect his.

 You can reach me at               and

 Thank you,


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                                                                          March 19, 2025

     Honorable Michael E. Farbiarz
     United States District Judge
     District of New Jersey
     Martin Luther King Courthouse
     50 Walnut Street
     Newark, NJ 07101

     Dear Judge Farbiarz,

     I am writing this letter in support of Mr. Mahmoud Khalil, whom I have known since he
     took the graduate section of my course, “History of the Modern Middle East,” HIST
     6998, in the fall semester of 2023.

     I am the                                                            in the Department of
     History at Columbia University, where I taught for a total of 23 years until my retirement
     in July 2024. Before that I taught for sixteen years in the Department of History at the
     University of Chicago. I have also taught at Georgetown University, the American
     University of Beirut, and the Lebanese University. I have served as the President of the
     Middle East Studies Association, and as an adviser to the Palestinian delegation during
     the 1991-1993 Madrid-Washington Palestinian-Israel peace negotiations. I am the author
     of eight books on Middle Eastern history that have been translated into dozens of
     languages, and the co-editor of three others.

     Mr. Khalil was an outstanding student in my course, taking an active part in the
     discussion sessions and in class, producing excellent take-home essays in the midterm
     and final exams, and obtaining the grade of A. Although he had far broader experience
     than they did of the history and politics of the Middle East, having grown up there and
     having worked for the British Embassy in Beirut, he was always respectful of other less
     knowledgeable students, and never dominated the discussions. His contributions were
     thoughtful and always to the point.

     I got to know Mr. Khalil further during the subsequent months, when he became a
     negotiator for the students protesting Israel’s war on Gaza with the Columbia
     administration, trying to bring the protests to a peaceful, mutually satisfactory end. This
     was a difficult task, as the administration was under intense external pressure. As far as I
     could tell, he performed this task in good faith, although his efforts, and those of faculty
     colleagues of mine to achieve the same end, were ultimately unsuccessful.
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     I also got to know Mahmoud through my wife, a former                       at the School
     of International and Public Affairs (SIPA), where he was a student, as he and other SIPA
     students often consulted her for career advice and sometimes personal advice. We got to
     know him and his wife Noor socially, and I found him to be a dedicated family man,
     caring of her, and deeply considerate. He was also a source of solace and support for
     younger Palestinian students who had been doxed, harassed and callously treated by the
     University, which provided them with little or no support.

     Mr. Khalil is a straight-forward, honest and soft-spoken individual, whom I have always
     found to be clear headed and mature beyond his years. In stark contrast with the entirely
     false picture of him portrayed by some, he is neither an extremist nor a hot-head, but
     rather someone deeply concerned about the fate of his people, the Palestinians. This is
     perfectly understandable, coming from someone whose family were forced to take refuge
     in Syria in 1948 after being driven from their homeland, and then had to leave Damascus
     due to the civil war there of the past fourteen years, which destroyed their home, and
     made them refugees once again.

     I hope this background on Mr. Khalil is helpful to you in deciding on his case.

     Sincerely yours,




     History Department, Columbia University
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  Honorable Jesse M. Furman
  United States District Judge
  Southern District of New York
  Thurgood Marshall Courthouse
  40 Centre Street, New York, NY

  RE: Letter in Support of Mahmoud Khalil’s Bail Hearing

  Dear Judge Furman,


  I am writing this letter in support of my dear friend Mahmoud Khalil. My name is                 ,
  and I am a recent graduate of Columbia University, Mailman School of Public Health, Class of
  2024. As a proud U.S. citizen, I deeply value free speech and am committed to protecting our
  First Amendment and constitutional rights. What has happened to Mahmoud Khalil greatly
  troubles me and raises serious concerns about the future of our country.

  Mahmoud is more than just a friend; he is a dear brother whom I was fortunate to meet during
  my time at Columbia and in New York. The first time I met Mahmoud was at a refugee advocacy
  and human rights event organized by SIPA. I was sitting in the front row, listening to a top
  diplomat’s testimony when Mahmoud raised his hand and shared his personal refugee story,
  leaving us all in awe. Mahmoud’s journey of displacement and resilience should be taught in
  every classroom across the world. I have yet to meet anyone who humanizes people, situations,
  and stories like Mahmoud does. It didn’t take long for me to understand the essence of who
  Mahmoud is. He is affable, generous, intelligent, articulate, funny, caring, and humble. After the
  event, I approached him, we chatted, walked across campus together, and, as expected, he
  invited me over for tea. He convinced me to drink it by promising to make the best mujaddara
  (lentil rice dish from the Levant)—and he delivered; it was delicious. Beyond his culinary talents,
  Mahmoud’s taste in music is worldly. His playlists reflect every experience and place he’s
  visited, and, of course, every song has a story behind it—spanning from his time in Syria to the
  vibrant nights in Beirut.

  On a professional level, I had the privilege of working with Mahmoud during our internships at
  the United Nations while pursuing our graduate studies. I witnessed firsthand Mahmoud’s
  dedication to social justice, global issues, and his political acumen. Mahmoud is pragmatic,
  diplomatic, and sensible—traits that are evident in his successful relationships with colleagues,
  classmates, and professors.
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  Mahmoud has a unique ability to make people feel seen and heard. Above all, he is a loving
  husband, married to a kind-hearted woman, and I have no doubt that he will be an amazing
  father. His wife deserves to have him by her side during the birth of their first child, and we owe
  it to their child to be born in a country that values free speech and upholds the fundamental
  freedoms of its residents.

  The absence of Mahmoud is profoundly felt by his loved ones, as well as by the broader
  academic and professional circles he is part of. His influence on both our intellectual and social
  spheres is immeasurable, and his detention marks a significant loss for all who know him.

  Therefore, I respectfully urge the court to release Mahmoud from his unjust detention and bring
  him back home to his wife. I ask the court not to rob Mahmoud of one of the most significant
  moments of his life as he prepares to welcome his firstborn.

  Sincerely,


  I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND
  CORRECT.

  EXECUTED ON MARCH 19, 2025



  Mobile:                 or
  Email:




  Thank you for your time and consideration. I sincerely appreciate the Court’s attention to
  this matter. If the Court requires any further information, I can be reached at the contact
  information above.
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  Honorable Michael E. Farbiarz
  United States District Judge
  District of New Jersey
  Martin Luther King Courthouse
  50 Walnut Street
  Newark, NJ 07101

  March 19th, 2025


  Dear Judge Farbiarz,

  I am writing this letter in full support of Mahmoud Khalil. I am a Lecturer at Columbia
  University’s School of International and Public Affairs (SIPA), where I have been teaching
  courses in quantitative methods and data analysis for ten years. Mahmoud was not a student of
  mine; rather, I had the pleasure of meeting him through his advocacy on campus to raise
  awareness of the humanitarian crisis in Gaza and help support affected students.

  I understand that Mahmoud has been an invaluable contributor to the Development Practice
  program at SIPA, organizing events and programming in his role as Program Assistant. He also
  served as the Teaching Assistant for a core Development Practice Lab course. He did all of this
  as a full-time student, while advocating for an end to the war and human suffering in Gaza, and
  supporting affecting students. On top of this, I know Mahmoud to be a kind and devoted husband
  and friend to so many at SIPA.

  I remember chatting with Mahmoud at several events he participated in. One was a panel that
  included Palestinian SIPA students who shared their stories of trying to exist as students while
  their family and friends were under constant bombardment in Gaza. Another event was a
  discussion with two Columbia faculty members about the charged geopolitical situation in the
  Middle East. Mahmoud’s participation in these events offer just two examples of Mahmoud
  working to bring people together to foster dialogue and a greater understanding of unfolding
  events and their impact on the SIPA community. I also remember talking to Mahmoud in my
  office about designing a survey to gauge the views of students about the school’s handling of the
  situation and allocation of resources. He wanted the school and university leadership to
  understand the views of their students. The Mahmoud I came to know worked tirelessly to foster
  understanding, raise awareness, and bring people together.

  Mahmoud is interested in building bridges. I know him to be a warm and kind advocate for those
  whose voices are marginalized, here at SIPA and the world beyond. He came to SIPA to pursue a
  career in public service, and is deeply committed to fighting oppression through advocacy,
  public policy, and diplomacy. I understand that his professional goals are to work with
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  Honorable Jesse M. Furman
  United States District Judge
  Southern District of New York
  Thurgood Marshall Courthouse
  40 Centre Street, New York, NY

  Dear Judge Furman,

  I am writing this letter in support of Mahmoud Khalil. My name is                    , and I am a
  second-year Ph.D. student at Columbia University. Prior to this, I was a Fellow at Harvard
  Divinity School. As an older student with significant experience in both governmental and
  non-governmental sectors, I have encountered a wide range of people and personalities. Today,
  however, I write to you not only as a friend, colleague, and sister like the figure of Mahmoud’s, I
  write to you in my capacity as a mother.

  In Fall of 2023, when I moved to New York last year to pursue my passion and obtain a Ph.D., I
  found myself navigating this vast city alone with two young children. My days were filled with the
  challenges of juggling motherhood and attending classes, while my nights were long, spent
  reading and writing to my carpal tunnel’s delight. During these challenging times, I came to
  realize how crucial community really is. Mahmoud, seeing the struggles I faced, stepped in
  without hesitation. He took on the role of an older brother, inviting us over for dinners and
  engaging my children in games. Soon enough, my 4-year-old son began asking, “Are we going
  to see your funny friends?” whenever he wanted to see Mahmoud.

  Never hesitating to help, Mahmoud has a natural and effortless way of stepping in and making
  everyone feel at ease. I remember, one day last Summer, while attending a street festival, my
  son had stopped in the middle of the bustling sidewalk to protest what he deemed to be an
  unfair allocation of ice cream between him and his older sister. Desperate to avoid being swept
  by the crowd, I pleaded for him to keep walking. Defiant, he swung his arms around his little
  body, picked up his foot and kicked the ground not knowing my toes had shuffled into that very
  same spot. In the midst of my silent discomfort, Mahmoud stepped in, offering a water bottle and
  giving my son a ride on his shoulders. While I recovered from the pain and muttered under my
  breath, Mahmoud had successfully and effortlessly fended off one of many future encounters I
  hope he has with his son.

  That’s who Mahmoud is: a caretaker. He empathizes with everyone, quickly identifies what’s
  needed, and fills the gap without hesitation. He’s never flustered, always calm, and a steady
  presence in times of stress. Mahmoud is grounded in logic, adept at resolving conflict, and
  always ready to serve as a mediator. In fact, he was the father figure the university neglected to
  be.

  Mahmoud cares about injustice in any form, whether it's watching a mom get her toe stepped on
  by a screaming toddler or watching the children of Gaza be torn to shreds. Therefore, although
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  Mahmoud is a friend, and a big brother, I write to you as a mother: Mahmoud deserves to be a
  father. It is who he is and all he has ever been.

  Kind Regards,




  3/18/2025
